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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION


UNITED STATES OF AMERICA

vs.                                                     Case No.:1:07cr18-SPM

BROOKE ERIN THOMSON,

           Defendant.
_____________________________/

                 ORDER GRANTING DEFENDANT’S MOTION

       THIS CAUSE comes before the Court upon the “Motion for Order Allowing

Mental Health Counselors Access to Defendant, Brooke Erin Thomson” (doc.

132). Defendant requests that mental health counselors be granted access to

her for the purpose of conducing psychological examinations so that Defendant

will be able to actively participate in her defense and prepare for her sentencing

hearing before this Court. The Government does not oppose the granting of this

motion.

       Upon consideration, finding the request to be reasonable, it is accordingly

       ORDERED AND ADJUDGED as follows:

       1.     The motion for access to Defendant at Levy County jail (doc. 132)

              is hereby granted.

       2.     Affiliates of the University of Florida Department of Forensic

              Psychiatry shall be granted access to Defendant in order to

              complete mental health examinations of Defendant while Defendant


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          is being held in custody at the Levy County jail.

    3.    In conducting the interviews, all affiliates must adhere to the

          procedural requirements established by the Levy County jail

          officials.

    DONE AND ORDERED this twenty-fifth day of March, 2008.




                                  s/ Stephan P. Mickle
                               Stephan P. Mickle
                               United States District Judge




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